       Case 18-34830-SLM         Doc 8     Filed 06/15/20 Entered 06/15/20 14:57:50             Desc

   IRS        Department of the Treasury       Page 1 of 1
              Internal Revenue Service
   955 S SPRINGFIELD AVE, BLDG A
                                                              Chapter and Case Number:
   SPRINGFIELD, NJ 07081
                                                              11 18-34830-SLM
                                                              Person to Contact:
                                                              DEVERE OKAFOR
                                                              Contact Telephone Number:

   Date:   June 12, 2020                                      (973) 921-4300
                                                              Employee Fax Number:
                                                               855-652-9055
                                                              Employee Identification Number:
                                                              0209997


   STACEY L. MEISEL
   UNITED STATES BANKRUPTCY COURT
   50 WALNUT STREET, 3RD FLOOR
   NEWARK, NJ 07102-2506


   Debtor: FRANK THEATRES TOWNE LLC
   Bankruptcy Filed December 19, 2018


   This is to certify that the records of the Internal Revenue Service reflect that the Proof of
   Claim filed on behalf of the Internal Revenue Service dated 02/28/2019 is no longer in force
   and effect.

   If you have any questions, our contact information is shown above. Thank you for your
   cooperation.



for /s/ ANDREW T AVON
   sup Revenue Office


   cc: FRANK THEATRES TOWNE LLC
       KENNETH A ROSEN




                                                                                   Letter 3931CG (11-2004)
                                                                                   Catalog Number 38952B
